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                            IN THE UNITED STATES DISTRICT COURT FOR
                                  THE SOUTHERN DISTRICT OF GEORGIA
                                            DUBLIN DIVISION


     UNITED STATES OF AMERICA


     V.                                                     CASE NO. 3:05-cr-00024-6


     Marquis Cortez Wilson,
               Defendant.




                                                  ORDER


               Before       the    Court    is    Defendant         Wilson's     motion    for     a

     sentence reduction pursuant to the First Step Act of 2018 (Doc.

     276).         On February 4, 2019, Defendant filed a motion requesting

     court-appointed counsel in his pursuit of a sentence reduction

     pursuant to the First Step Act.                     On February 28, 2019, the Court

     denied         Defendant's       motion      for    counsel     and   also       denied,    sua

     sponte, a sentence reduction pursuant to that Act.                                 The Court

     found         that    the    First    Step   Act    had   no    impact      on   Defendant's

     guideline            calculations;      therefore,        he    was   not    eligible      for

     consideration for a sentence reduction.

               Nothing has changed with respect to Defendant's eligibility

     for       a    sentence       reduction.       As    such.      Defendant's       motion    is

     DENIED.


               SO ORDERED this // *^day of November, 2019.

          cn
          LO




                                            WILLIAM T. MOORE
          cr                                JUDGE, U.S. DISTRICT COURT
                                            SOUTHERN     DISTRICT OF GEORGIA
c;




                   CJ
